          Case 5:24-cv-00439-JKP-RBF Document 5 Filed 05/24/24 Page 1 of 2


AO 440 (Rev. 06/12) Summons in a Civil Action

                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                         Western District of Texas


                    Mark Anthony Ortega




                            Plaintiff(s)
                                V.                                           Civil Action No. 5:24-cv-00439-JKP-RBF
                   Cally Consulting, PLLC



                           Defendant(s)

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendantnameandaddress) Cally Consulting, PLLC
                                           6605 Grand Montecito Pkwy, Suite 100,
                                           Las Vegas, NV89149




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) or 60 days if you

P. 12 (a)(2) or (3)   -
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
                      you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Mark Anthony Ortega
                                           P0 Box 702099,
                                           San Antonio, TX 78270




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT          PHILIP J. DEVLIN

Date:
                                                                                         Signature of Clerk orfri4Y CThrk
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Civil Action No. 5:24-cv-00439-JKP-RBF

                                                            PROOF OF SERVICE
                       (This section should not befiled with the court unless required by FeL R. Civ. P.4(0)


           This summons for (name ofindividual and title, rany)
was received by me on (date)

           Cl I personally served the summons on the individual at (place)

                                                                                     Ofl (date)                            or

           Cl I left the summons at the individual's residence or usual place of abode with (name)

                                                                       a person of suitable age and discretion who resides there,
           On (date)                                , and mailed a copy to the individual's last known address; or


           Cl I served the summons on (name of individual)                                                                          who is
            designated by law to accept service of process on behalf of (name oforganization)
                                                                                     On (date)                             or

           Cl I returned the summons unexecuted because                                                                                or

           Cl Other     (spec:


           My fees are $                            for travel and $                      for services, for a total of $        0.00


           I declare under penalty of perjury that this information is true.



Date:
                                                                                                  Server's signature



                                                                                              Printed name and title




                                                                                                  Server's address

Additional information regarding attempted service, etc:
